JS-CAND 44 (Rev. 07/16)

The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filin
except as provided by local rules of court. This form, approved in its original f | form b

CIVIL COVER SHEET

Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS Fi ORM.)

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Case 4:17-cv-00719-HSG Document 1-1 Filed 02/13/17 pagel Pat 4 oy

and service of pleadings or other apers as required by law,
y the Judicial Conference of the United States in September 1974, is required for the Clerk of

I. (a) PLAINTIFFS

(b) County of Residence of First Listed Plaintiff [(Sa, dics Costa

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

74901 Doing

Dio Sr .,

OnViicwsd » tra A462. \
Lo

Ste. 24SD

DEFENDANTS

Valewiwo Walter , ek.

al.

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

NOTE: wa CONDEMNATION CASES, USE THE LOCATION OF

TRACT OF LAND INVOLVED.
Attorneys (If Known)

Il. BASIS OF

Oe

IY. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases pert and One Box for Defendant)
1 U.S. Government 1 Question DEF PIF DEF A Q
Plaintiff (YS. Government Not a Party) Citi
itizen of This State aq 1 Incorporated or Principal Place fg
der of Business In This State i‘

U.S. Government 4 Diversity Citizen of Another State 2 2 Incorporated and Principal Place leg 5 foe 5
Defendant (Indicate Citizenship of Parties in Item Hi) i (i of Business In Another State a ii

Citizen or Subject of a 3 3 Forcign Nation i «6 6

Foreign Country

IV. NATURE OF SUIT (Place an “X" in One Box x Only)

375 False Claims Act

110 Insurance PERSONAL INJURY PERSONAL INJURY [9625 Drug Related Seizure [E22 Appeal 28 USC $1: 158
120 Marine 310 Airplane [E365 Personal Injury — of Property 21 USC § 881 | [E423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 9 315 Airplane Product Product Liability 24690 Other 28 USC § 157 § 3729(a))
140 Negotiable Instrument Liability [E367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical 410 Antitrust
Of Veteran's Benefits Slander Personal Injury 430 Banks and Banking
EN 151 Medicare Act 330 Federal Employers’ Product Liability 4 450 Commerce
Lay 152 Recovery of Defaulted Liability [3368 Asbestos Personal 460 Deportation
Student Loans 340 Marine Injury Product 470 Racketeer Influenced and
(Excludes Veterans) 129 345 Marine Product Liability a i a Corrupt Organizations
153 Recovery of Overpayment Liability PERSONAL PROPERTY |[2J 480 Consumer Credit
of Veteran’s Bencfits 350 Motor Vehicle 4370 Other Fraud Act 62 Black Lung (923) 490 Cable/Sat TV
1=§ 160 Stockholders’ Suits 355 Motor Vehicle 4371 Truth in Lending E3720 Labor/Management 863 DIWC/DIWW (405(g)) 850 Securities/Commodities/
2g 190 Other Contract Product Liability {29380 Other Personal Relations’ 24864 SSID Title XVI Exchange
38 195 Contract Product Liability 60 Other Personal Property Damage [E9740 Railway Labor Act 14365 RSI (405(g)) 890 Other Statutory Actions
LES 196 Franchise " Injury [E385 Property Damage 34751 Family and Medical § 891 Agricultural Acts
362 Personal Injury - Product Liability Leave Act 893 Environmental Matters
Medical al Malpractice arse Other Labor Litigation 895 Freedom of Information
Si. PRISONER PETIEIONS:|[E1791 Employee Retirement [7p REDERATTAXSULTS.. | Act
Habeas Corpus: Income Security Act [eis70 Taxes (U.S. Plaintiff 896 Arbitration
220 Foreclosure face: Alien Detainee or Defendant) 899 Administrative Procedure
230 Rent Lease & Ejectnte 8510 Motions to Vacate [Eie71 iRS—Third Party Act/Review or Appeal of
240 Torts to Larid Sentence 26 USC § 7609 Agency Decision
245 Tort Prodict Liability 124530 General 950 Constitutionality of
2 290 All Other Real Property #45 Amer. w/Disabilities—|J29535 Death Penalty -., MIMIGRATION == 7! State Statutes
Employment Other: ee Naturalization Application
[a 446 Amer. w/Disabilities— [39540 Mandamus & Other 465 Other Immigration
Other [58550 Civil Rights Actions
[Ed 448 Education [£9555 Prison Condition
. [24 560 Civil Detainee—
~ Conditions of
t Confinement
Vv. GIN (Place an “X” in One Box Only)
1 Original 2 Removed ft from [fy 3 Remanded from 4 Reinstated or 3 Transferred from [5g 6 Multidistrict [Ey 8 Multidistrict
Proteeding State C Appellate Court Reopened Another District Litigation—Transfer Litigation—Direct File
specify)

VI. CAUSE OF ACTION

SPeAy Gr2>

4

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):

19 &

Brief description of cause:

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VIL. REQUESTED IN
COMPLAINT:

UNDER RULE 23, Fed. R. Civ. P.

CHECK IF THIS IS A CLASS ACTION

DEMAND §

JURY DEMAND

VIII. RELATED CASE(S),

IF ANY Gee instructions):

JUDGE

DOCKET NUMBER

CHECK YES cay demanded in complaint:

IX. DIVISIONAL ASSIGNMENT (Civil Loc
(Place an “X” in One Box Only)

Rule 3-

SAN

CISCO/OAKLAND SAN JOSE [fj EUREKA-MCKINLEYVILLE

DATE:

SIGNATURE OF ATTORNEY OF RECORD: ( LU oteme 4. Co

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